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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Harrisonburg Division



ALIGN TECHNOLOGY, INC.,
                             Plaintiff,             Civil Action No._5:22-cv-00038
       v.                                           JURY TRIAL DEMANDED
SMILES OF VIRGINIA FAMILY DENTAL
CENTER, PLLC and DR. NIELS
OESTERVEMB,
                             Defendants.



                                           COMPLAINT

       Plaintiff Align Technology, Inc. (“Plaintiff” or “Align”) hereby files this Complaint

against Defendants Smiles of Virginia Family Dental Center, PLLC (“Smiles of Virginia”) and

Dr. Niels Oestervemb (“Oestervemb”) (collectively “Defendants”), alleging as follows:

                                    NATURE OF THE CASE

       1.      This case arises out of Defendants’ improper efforts to mislead consumers into

believing that they and/or their product or service offerings are affiliated with, endorsed by,

sponsored by, or approved by Align by featuring Align’s federally registered and incontestable

Invisalign® and Align® trademarks in their advertising and promotional materials.

       2.      Defendants’ conduct is unlawful and blatant, as shown on their website here:
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See Exhibit A, https://www.smilesofvirginia.com/services/cosmetic-dentistry/invisalign/

(relevant portion of page shown).

       3.      Defendants misrepresent an affiliation with Align and its Invisalign® system,

including by representing that they are Invisalign® providers, which they are not, and by making

it appear to consumers that they are offering the Invisalign® system, which they do not. Once

they have lured consumers to their offices using the Invisalign® trademark, Defendants then do a

bait-and-switch, substituting in other non-Invisalign® aligners instead.

       4.      Defendants’ infringing activities have caused and will continue to cause both

pecuniary and irreparable harm to Align if not enjoined by the Court.

                                JURIDSICTION AND VENUE

       5.      This action arises under the federal Trademark Act, 15 U.S.C. § 1051, et seq.

This Court has subject matter jurisdiction over this action and the claims asserted herein pursuant

to at least 28 U.S.C. §§ 1331 and 1338(a) and (b).
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       6.      This Court has personal jurisdiction over the Defendants because Defendants have

a continuous, systematic, and substantial presence within this judicial district and within

Virginia, including physical offices and residences in this district.

       7.      Venue is proper in this judicial district pursuant to at least 28 U.S.C. §§ 1391

and/or 1400, including because a substantial part of the events giving rise to the claims herein

occurred within this judicial district, and because a substantial number of consumers who reside

in this district may be confused by Defendants’ infringing conduct. Further, Defendants reside

in, have their principal place of business in, and have infringed Align’s registered trademarks and

committed the other acts complained of herein, all within this judicial district.

                                             PARTIES

       8.      Plaintiff Align is a Delaware corporation with its principal place of business at

410 North Scottsdale Road, Suite 1300, Tempe, Arizona 85281.

       9.      On information and belief, Defendant Smiles of Virginia is Limited Liability

Company registered in Virginia with its principal place of business at 633 Cedar Creek Grade,

Winchester, Virginia 22601.

       10.     On information and belief, Defendant Dr. Niels Oestervemb is a resident of

Virginia with his address at 2329 Stoneridge Road, Winchester, Virginia 22601.

                                  FACTUAL ALLEGATIONS

   A. Align and the Invisalign® System

       11.     Plaintiff Align is a global medical device company founded in 1997 engaged in

inventing, developing, making, and selling innovative products that help dental and orthodontic

professionals deliver effective, cutting-edge options to their patients. Align is perhaps best

known for its Invisalign® clear aligner system for straightening teeth.
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       12.     The Invisalign® system is a proprietary method for treating malocclusion based on

a series of doctor-prescribed, custom manufactured, clear plastic, removable aligners. The

Invisalign® clear aligners can be removed (for eating and teeth cleaning), without the metal

brackets and wires traditionally used in braces. Align’s Invisalign® system has shown proven

results based on its lengthy use, and is FDA-cleared, setting it apart from other clear aligner

systems.

       13.     Align has provided its high-quality medical and dental devices to consumers for

over twenty years. Over this time, Align has invested more than a billion dollars in innovation,

including developing its state of the art proprietary materials, impression systems, predictive

software and other research and development. Align continues to spend more than $100 million

annually on research and development to provide patients the best possible treatment options.

Align has treated over 12 million patients world-wide, and has built a stellar reputation and

acquired substantial goodwill in the process, all in connection with both the Invisalign® and

Align® names and trademarks.

       14.     Align offers its Invisalign® system exclusively through authorized dentists and

orthodontists who are trained and provided support by Align. Authorized providers benefit from

their affiliation and endorsement by Align, Align® training services and ongoing support, and

also from the name recognition and reputation that offering the Invisalign® system provides.

       15.     Market research establishes that patients frequently select providers based on the

fame of the Invisalign® system, including the associated excellent reputation and strong

goodwill, and that patients also select providers based on their affiliation with Align and ability

to offer the Invisalign® system.
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       16.     As a condition to providing Invisalign®-branded products and services, Align

providers must also agree to Invisalign® Terms and Conditions set by Align. The Invisalign®

Terms and Conditions include guidelines as to, and restrictions on, the use of Align’s federally

registered trademarks. The Invisalign® Terms and Conditions also require adherence to

guidelines as to the use of Align’s federally registered trademarks set forth in Align’s Art and

Advertising Standards Brand Guidelines for Invisalign® Providers.

       17.     Align has devoted a tremendous amount of time and resources—technical

research and development and design resources—to develop its cutting-edge technology and to

promote its branded products. Align has also invested hundreds of millions of dollars in product

marketing; advertising, including media advertising; sales force compensation; marketing

personnel-related costs; and clinical education. For example, Align has invested nearly $900

million in advertising its Invisalign® system between 2012 and 2021—from social media

presences to team and league sponsorships with the NFL, NBA, NHL, and US Ski & Snowboard

team. Align’s significant investments and high-quality standards have resulted in considerable

customer goodwill and a superior reputation in the industry.

   B. Align’s ALIGN Trademarks

       18.     Align has established and invested significantly in numerous registered and

otherwise legally protectable trademarks in connection with its products, including its Align®

and Invisalign® families of marks.

       19.     Align is the owner of incontestable U.S. Trademark Registration No. 3181043 for

ALIGN for use in connection with “Training in the use of orthodontic appliances” and

“Orthodontic Services.”
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       20.      Align is the owner of incontestable U.S. Trademark Registration No. 3259957 for

ALIGN for use in connection with “dental apparatus, namely plastic orthodontic appliances.”

       21.      Align is the owner of U.S. Trademark Registration No. 6646547 for ALIGN for

use in connection with “computer software for diagnosis and treatment in the dental and

orthodontic field; computer software, namely, digital imaging software for depicting tooth

movement and creating proposed treatment plans; computer software for administering, tracking,

and modifying diagnosis and treatment in the field of restorative dentistry.”

       22.      Align is the owner of incontestable U.S. Trademark Registration No. 3786167 for

ALIGNTECH for use in connection with “Training in the fields of dentistry and orthodontia.”

       23.      Align is the owner of incontestable U.S. Trademark Registration No. 4683727 for

ALIGNTECH INSTITUTE for use in connection with “Service in the dental field, namely,

training in the fields of dentistry and orthodontia.”

       24.      Align is the owner of incontestable U.S. Trademark Registration No. 4680787 for

ALIGNTECH INSTITUTE for use in connection with “Services in the dental field, namely,

consultation services in the fields of dentistry and orthodontia, dentistry, orthodontic services.”

       25.      The marks identified in the preceding paragraphs are collectively referred to

herein as the ALIGN Marks.

       26.      The ALIGN Marks have been continuously used in interstate commerce and have

never been abandoned.

   C. Align’s INVISALIGN Trademarks

       27.      Align is the owner of incontestable U.S. Trademark Registration No. 4025403 for

INVISALIGN for use in connection with “Consultation services in the fields of dentistry and

orthodontia.”
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       28.      Align is the owner of incontestable U.S. Trademark Registration No. 3191195 for

INVISALIGN for use in connection with: “Training in the use of orthodontic appliances; and

Orthodontic and dentistry services.”

       29.      Align is the owner of incontestable U.S. Trademark Registration No. 3060471 for

INVISALIGN for use in connection with “Computer software, namely digital imaging software

used to depict tooth movement and proposed treatment plan; computer software used to provide,

track and modify proposed courses of orthodontic treatment and patient data and information

related thereto.”

       30.      Align is the owner of incontestable U.S. Trademark Registration No. 3911988 for

INVISALIGN for use in connection with “Computer software, namely, digital imaging software

used to depict tooth movement and proposed treatment plans; computer software used in creation

of individually customized courses of orthodontic treatment; computer software used to provide,

track and modify proposed courses of orthodontic treatment and patient data related thereto;” and

“Dental apparatus, namely, orthodontic appliances;” and “Custom manufacture of orthodontic

appliances; dental laboratory services;” and “Training in the fields of dentistry and orthodontia;”

and “Dentistry; orthodontic services; consultation services in the fields of dentistry and

orthodontia.”

       31.      Align is the owner of incontestable U.S. Trademark Registration No. 3418121 for

INVISALIGN for use in connection with “Custom manufacture of orthodontic appliances, dental

laboratory services.”

       32.      Align is the owner of incontestable U.S. Trademark Registration No. 2409473 for

INVISALIGN for use in connection with “Dental apparatus, namely plastic orthodontic

appliance.”
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       33.    The marks identified in the preceding paragraphs are collectively referred to

herein as the INVISALIGN Marks.

       34.    The INVISALIGN Marks have been continuously used in interstate commerce

and have never been abandoned.

   D. Defendants’ Infringing Conduct

       35.    Defendants advertise and promote themselves as dental and orthodontic service

providers.

       36.    Defendants are not providers of the Invisalign® system. Defendants nevertheless

feature the INVISALIGN Marks in their advertising and promotional materials, including on

their website and in social media posts. For example, under the “services” drop down menu on

the home page of Defendants’ website, Defendants purport to offer “Invisalign®” services:




See Exhibit B, https://www.smilesofvirginia.com (with arrow highlighting “Invisalign®” as

shown on the “Services” drop down menu).
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       37.    Defendants also use the INVISALIGN Marks prominently on their website as

follows:




See Exhibits A and C, https://www.smilesofvirginia.com/services/cosmetic-dentistry/invisalign/

(with the Invisalign® trademark also appearing in the URL).
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         38.     Additionally, consumers searching for Invisalign® providers in Winchester,

 Virginia, on Google.com (using search terms “Invisalign provider Winchester Virginia”) receive

 this as the top search result:




 See Exhibit D, https://tinyurl.com/yfh3h8mt.

         39.     Defendants also use the INVISALIGN Marks in their social media advertising, as

 shown here:
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 See Exhibit E, https://www.facebook.com/smilesofvirginia; see also

 https://www.facebook.com/smilesofvirginia/videos/invisalign/202407071069675/.

        40.     However, Defendants are not providers of Invisalign® and in fact do not provide

 the Invisalign® system.

        41.     Rather, while trading on the INVISALIGN Marks, Defendants then offer

 ClearCorrect®, another clear aligner product, instead, in a bait-and-switch manner.

        42.     On information and belief Defendants’ infringing conduct is willful, including in

 view of Defendants’ use of the registered “®” symbol with “Invisalign®”.

        43.     Additionally, on information and belief, Defendants have used the following mark

 and image in advertising and promoting their services, including on YouTube:




        https://www.youtube.com/watch?v=yDIpmS1mcEQ

        44.     On August 29, 2019, Defendant Oestervemb filed an intent-to-use application,

 U.S. Serial Number 88597529, for federal trademark registration of “Align2Smile” for use in

 connection with “Orthodontic appliances; Orthodontic retainers,” and “Dental consultations;

 Dental hygienist services; Dental services, namely, performing restorative and cosmetic

 procedures; Dentist services; Orthodontic services; Oral surgery and dental implant services;
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 Providing a website featuring information for patients in the field of dental health; Providing

 information in the field of orthodontics.” The applied for mark is shown here:




        45.     Notably, the application for this mark expressly includes the design elements

 shown here, including specifically “‘Align’ in black text beside ‘2’, the upper half black and

 lower half turquoise, beside ‘Smile’ in turquoise with a curved turquoise line below, the white

 representing background and not forming part of the design.” This color design mimics the blue

 and black used by Align in promoting its own products and services with the ALIGN Marks.

        46.     Defendants’ unauthorized use of Align’s INVISALIGN Marks and ALIGN Marks

 is likely to cause confusion or mistake among consumers as to Defendants’ connection or

 affiliation with Align, as to the source of Defendants’ products, and as to the sponsorship or

 approval of Defendants and its products and services by Align.

        47.     Defendants’ use of Align’s INVISALIGN Marks and ALIGN Marks is also false

 and misleading advertising, suggesting that Defendants are providers of the Invisalign® system,

 and implying sponsorship, affiliation, approval, or endorsement by Align.

        48.     Defendants’ advertising that they provide the Invisalign® system, or are affiliated

 with, related to, or endorsed by Align, is also false and misleading to consumers. Defendants do

 not offer the Invisalign® system, and are not affiliated with, related to or endorsed by Align.

        49.     On information and belief, Defendants’ infringing acts are intentional and willful,

 intended to lure patients into believing that Defendants can and/or will provide the Invisalign®
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 system and be backed by Align’s® reputation and support, while all along Defendants intend to

 substitute ClearCorrect® aligners in place of Invisalign® system.

         50.     Align has been damaged by the foregoing infringing and wrongful acts of

 Defendants, including suffering actual damages.

         51.     On information and belief, Defendants’ infringing and wrongful conduct will

 continue unless enjoined by this Court.

                                                COUNT I

                    Federal Trademark Infringement under 15 U.S.C. § 1114

         52.     Plaintiff Align realleges and incorporates by reference paragraphs 1-51 as though

 fully set forth herein.

         53.     Align owns the federal registered trademarks for the ALIGN Marks and

 INVISALIGN Marks as identified above, as well as common law rights in these marks.

         54.     Without Align’s consent, Defendants have used the ALIGN Marks and

 INVISALIGN Marks in commerce to advertise and offer Defendants’ products and services.

         55.     Defendants’ infringing actions as described herein have caused and/or are likely

 to cause confusion, mistake, and/or deception among ordinary consumers as to the source,

 sponsorship, affiliation, or approval of Defendants’ products and/or cause confusion or mistake

 as to an affiliation, connection, or association between Align and Defendants, in violation of at

 least 15 U.S.C. § 1114(1)(a) and (b).

         56.     On information and belief, Defendants have made and will continue to make

 substantial profits and gains as a result of their infringing activities.

         57.     Align has been and will continue to be damaged and irreparably harmed by the

 Defendants’ actions, which will continue unless Defendants are enjoined by this Court.
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         58.     Align has no adequate remedy at law in that the amount of damage to Align’s

 business, reputation, and diminution of the INVISALIGN Marks goodwill is difficult to ascertain

 with specificity. Align is therefore entitled to injunctive relief pursuant to 15 U.S.C. § 1116.

                                               COUNT II

                     Federal Trademark Counterfeiting under 15 U.S.C. 1114

         59.     Plaintiff Align realleges and incorporates by reference paragraphs 1-58 as though

 fully set forth herein.

         60.     Align owns the federally registered INVISALIGN Marks, as described above, as

 well as common law rights in those marks.

         61.     Without Align’s authorization or consent, Defendants have used identical or

 substantially indistinguishable copies of the INVISALIGN Marks in commerce to advertise,

 offer for sale, sell and/or distribute non-Invisalign® services and products.

         62.     On information and belief, Defendants intentionally and willfully used the

 INVISALIGN Marks knowing such designation to be counterfeit in connection with the sale,

 offering for sale or distribution of non-Invisalign® services and goods.

         63.     Defendants’ actions constitute trademark counterfeiting in violation of at least 15

 U.S.C. § 1114(1)(a) and (b).

         64.     On information and belief, Defendants have made and will continue to make

 substantial profits and gains as a result of their counterfeiting activities.

         65.     Align has been and will continue to be damaged and irreparably harmed by

 Defendants’ actions, which will continue unless Defendants are enjoined by this Court.
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         66.     Align has no adequate remedy at law in that the amount of damage to Align’s

 business, reputation, and diminution of the INVISALIGN Marks goodwill is difficult to ascertain

 with specificity. Align is therefore entitled to injunctive relief pursuant to 15 U.S.C. § 1116.

         67.     Align is entitled to recover from Defendants all damages, including attorneys’

 fees, that Align has sustained and will sustain as a result of Defendants’ counterfeiting activities,

 and all profits, gains, and advantages obtained by Defendants as a result thereof, in an amount to

 be determined at trial, as well as the costs of this action pursuant to 15 U.S.C. § 1117(a),

 attorneys’ fees and treble damages pursuant to 15 U.S.C. § 1117(b), and or/statutory damages

 pursuant to 15 U.S.C. § 1117(c).

                                             COUNT III

                           Trademark Dilution under 15 U.S.C. § 1125(c)

         68.     Plaintiff Align realleges and incorporates by reference paragraphs 1-67 as though

 fully set forth herein.

         69.     Align’s INVISALIGN Marks are famous and distinctive and have been in use by

 Align and famous and distinctive continuously for many years, prior to the Defendants’ improper

 and unlawful infringement of those marks.

         70.     Without Align’s authorization or consent, Defendants have and are continuing to

 use the INVISALIGN Marks in commerce in a manner that dilutes the distinctive quality, and

 harms the reputation, of the INVISALIGN Marks.

         71.     Defendants’ unauthorized use of Align’s INVISALIGN Marks is likely to cause

 consumers to mistakenly associate the INVISALIGN Marks with Defendants’ services, and

 thereby to impair the distinctiveness of the INVISALIGN Marks, which have a high degree of

 distinctiveness and a high degree of recognition following Align’s substantially exclusive use of
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 the INVISALIGN Marks in extensive, long-term, and broad advertising and promotion and

 extensive sale of goods and services under the INVISALIGN Marks, and which, on information

 and belief, Defendants used with the intent to create an association with the INVISALIGN

 Marks, such an association actually having been created among consumers of Defendants’

 services.

         72.     Defendants’ unauthorized use of Align’s INVISALIGN Marks is likely to harm

 Align’s reputation because Defendants do not provide the Invisalign® system but rather provide

 another clear plastic orthodontic appliance.

         73.     Defendants’ actions further tarnish and dilute Align’s INVISALIGN Marks by

 falsely attributing the quality of the Defendant’s products and services to Align’s products and

 services by misleading use of the INVISALIGN and ALIGN marks.

         74.     Defendants’ acts as alleged herein occurred after the INVISALIGN Marks

 became famous, and constitute dilution in violation of 15 U.S.C. § 1125(c).

         75.     On information and belief, Defendants’ acts of dilution are willful, deliberate and

 in bad faith.

         76.     Align has been and will continue to be damaged and irreparably harmed by the

 Defendants’ actions, which will continue unless Defendants are enjoined by this Court.

         77.     Align has no adequate remedy at law, and is therefore entitled to injunctive relief.

 Align is also entitled to recover Align’s actual damages and Defendants’ profits, as well as costs

 and attorneys’ fees under 15 U.S.C. §§ 1025(c), 1116, and 1117.
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                                             COUNT IV

  False Advertising and False Designation of Origin under 15 U.S.C. § 1125(a) and Virginia
                                       Common Law

         78.     Plaintiff Align realleges and incorporates by reference paragraphs 1-77 as though

 fully set forth herein.

         79.     Align owns the federal registered trademarks for the ALIGN Marks and

 INVISALIGN Marks as identified above, as well as common law rights in these marks.

         80.     Without Align’s consent, Defendants have used the ALIGN Marks and

 INVISALIGN Marks in interstate commerce and in the Commonwealth of Virginia to advertise

 and offer Defendants’ products and services.

         81.     Defendants’ actions as described herein have caused and/or are likely to cause

 confusion, mistake, and/or deception among ordinary consumers as to the source, sponsorship,

 affiliation, or approval of Defendants’ products and/or cause confusion or mistake as to an

 affiliation, connection, or association between Align and Defendants, in violation of 15 U.S.C.

 § 1125(a) and Virginia common law.

         82.     Defendants’ use of Align’s ALIGN Marks and INVISALIGN Marks as described

 above constitutes false and misleading statements of fact, to wit at least: (a) that Defendants are

 providers of the Invisalign® system; (b) that Defendants are affiliated with or endorsed by Align,

 makers of the Invisalign® system; and/or (c) that Defendants do offer their patients the

 Invisalign® system, when in fact they do not.

         83.     Defendants’ statements on their website and in social media posts constitute

 commercial advertising and promotion of Defendants’ services under 15 U.S.C. § 1125(a) and

 Virginia common law.
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        84.     On information and belief, Defendants’ false and misleading statements are

 material to consumers in their determination of what providers to select and ultimately what

 aligner system/teeth straightening treatment to purchase and use.

        85.     On information and belief, Defendants engage in these acts with the intent to

 deceive consumers, and Defendants’ false and misleading statements have actually deceived and

 have the tendency to deceive such consumers.

        86.     Defendants caused its false and misleading statements to enter interstate

 commerce, for example, on websites and in social media posts.

        87.     On information and belief, Defendants have made and will continue to make

 substantial profits and gains as a result of their false advertising and false designation of origin.

        88.     Align has been and will continue to be damaged and irreparably harmed by the

 Defendants’ actions, which will continue unless Defendants are enjoined by this Court.

        89.     Align has no adequate remedy at law in that the amount of damage to Align’s

 business, reputation, and diminution of the INVISALIGN Marks goodwill is difficult to ascertain

 with specificity. Align is therefore entitled to injunctive relief pursuant to 15 U.S.C. § 1116.

        90.     Align is entitled to recover from Defendants all damages, including attorneys’

 fees, that Align has sustained and will sustain as a result of Defendants’ false advertising and

 false designation of origin activities, and all profits, gains, and advantages obtained by

 Defendants as a result thereof, in an amount to be determined at trial, as well as the costs of this

 action pursuant to 15 U.S.C. § 1117(a), attorneys’ fees and treble damages pursuant to 15 U.S.C.

 § 1117(b), and or/statutory damages pursuant to 15 U.S.C. § 1117(c), in addition to all damages

 authorized under Virginia common law.
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                                        PRAYER FOR RELIEF

         WHEREFORE, Align prays that this Court enter judgment against Defendants as

 follows:

         A.      Preliminary injunction and permanent injunctive relief, enjoining and prohibiting
                 Defendants, their agents, servants, employees, officers, attorneys, subsidiaries,
                 successors and assigns, and all others in active concert with Defendant, from:
                 a.      Using the ALIGN Marks, or any confusingly similar marks;
                 b.      Using the INVISALIGN Marks, or any confusingly similar marks;
                 c.      Assisting, aiding or abetting any other person or entity in engaging in or
                         performing any of the activities described in paragraph A(a) or A(b) above;
         B.      An award of damages in an amount to be determined at trial;
         C.      An award of treble damages as provided by the Lanham Act;
         D.      An award of attorneys’ fees and costs;
         E.      An award of punitive damages in an amount to be determined at trial; and
         F.      Any further relief the Court deems appropriate.


                                    DEMAND FOR JURY TRIAL

         Pursuant to Federal Rule of Civil Procedure 38, Plaintiff Align hereby demands a jury

 trial of this matter.

                                                  Respectfully Submitted,

                                                  ALIGN TECHNOLOGY, INC.

                                                  By Counsel

                                                  __/s/_________________________
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